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        In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                          No. 15-1309V
                                    Filed: September 30, 2016

* * * * *           *   *   *   *     *   *   *   *              UNPUBLISHED
DALE PATE,                                        *
                                                  *
                        Petitioner,               *              Special Master Gowen
                                                  *
v.                                                *              Interim Costs
                                                  *
SECRETARY OF HEALTH                               *
AND HUMAN SERVICES,                               *
                                                  *
                        Respondent.               *
                                                  *
* * * * * * * * * * * *                           *
Dale Pate, pro se, for petitioner.
Althea W. Davis, United States Department of Justice, Washington, DC, for respondent.

                                DECISION ON INTERIM COSTS1

        On November 3, 2015, Dale Pate (“petitioner”) filed a petition for compensation pursuant
to the National Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-1 to 34 (2012).
Petitioner filed an Amended Petition on June 27, 2016. Petitioner alleged that as a result of
receiving an influenza (“flu”) vaccine on December 10, 2012, he suffered: chronic
polyneuropathy, sensory axonal and demyelinating polyneuropathy, Guillain Barré Syndrome
(“GBS”), and/or chronic inflammatory demyelination polyneuropathy (“CIDP”); irritable bowel
syndrome; and the aggravation of his vision, dysthymia and hemorrhoids. Amended Petition at
1, ¶ 2.

       On November 3, 2015, petitioner filed a motion for interim costs, requesting advance
payment of costs to pay for copies of his medical records. Petitioner was advised that the
Program does not advance costs to petitioners, and was instructed that the undersigned would
grant payment of copying charges upon the filing of the medical records and an invoice for the

1
 Because this decision contains a reasoned explanation for the undersigned’s action in this case, the
undersigned intends to post this ruling on the website of the United States Court of Federal Claims, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services). As provided by Vaccine Rule 18(b), each party has 14
days within which to request redaction “of any information furnished by that party: (1) that is a trade
secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b).
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copies. See Order, dated December 22, 2015. Petitioner filed medical records on June 27, 2016,
and on August 22, 2016, petitioner filed a motion for interim costs, requesting $305.56 to pay for
copies of his medical records, postage, and supplies. Petitioner’s Motion at 1. Respondent did
not file a response.

        Interim attorneys’ fees and costs are permissible under the Vaccine Act, and the
undersigned finds an award of interim costs appropriate based on the overall circumstances of
this case. Avera v. Sec’y of Health & Human Servs., 515 F.3d 1343, 1352 (Fed. Cir. 2008). A
request for reimbursement of costs must be reasonable. Perreira v. Sec’y of Health & Human
Servs., 27 Fed. Cl. 29, 34 (Fed. Cl. 1992). The undersigned finds the requested costs reasonable.
Accordingly, as suggested in the December 22, 2015, Order, the undersigned GRANTS
petitioner’s motion for interim costs.

        The undersigned awards costs as follows:

            (1) A lump sum of $305.56 in the form of a check payable petitioner.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment forthwith.2

        IT IS SO ORDERED.

                                                  s/Thomas L. Gowen
                                                  Thomas L. Gowen
                                                  Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice
renouncing the right to seek review.
